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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              ALBANY DIVISION

MIXON SEED SERVICE, INC., A.G. :
SOUTH GENETICS, LLC, and       :
UNIVERSITY OF GEORGIA RESEARCH :
FOUNDATION, INC.,              :
                               :
     Plaintiffs,               :
                               :
v.                             :                      CASE NO.: 1:23-CV-137 (LAG)
                               :
BRINSON FARM SUPPLY, INC.,     :
                               :
                               :
     Defendant.                :
                               :
                                          ORDER
       Before the Court is the Parties’ Joint Motion for Entry of a Protective Order (Joint
Motion) (Doc. 28). Therein, the Parties represent that they “anticipate that discovery in this
action will involve the exchange of documents and information that may contain
confidential, proprietary, trade secret, or otherwise sensitive information.” (Id. ¶ 1). The
Parties request that the Court enter the Parties’ Agreed Protective Order (Doc. 28-1) to
“protect such materials from unnecessary disclosure while ensuring fair discovery[.]”
(Doc. 28 ¶ 2). The Parties represent that “the Parties’ Agreed Protective Order provides
appropriate safeguards for confidential, proprietary, and personal information; limits the
use and dissemination of such information to the needs of this litigation; and establishes a
clear framework for designating, handling, and challenging confidential materials.” (Id. ¶
4).
       Under Federal Rule of Civil Procedure 26(c), the Court may enter a protective order
upon finding good cause. Stipulated protective orders have become “commonplace in the
federal courts” to allow the parties “to designate particular documents as confidential . . .
. and postpone[] the necessary showing of ‘good cause’ required for entry of a protective
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order   until   the   confidential   designation   is   challenged.”     Chi.   Trib.   Co.   v.
Bridgestone/Firestone, Inc., 263 F.3d 1304, 1307 (11th Cir. 2001) (first citing Fed. R. Civ.
P. 26(c)(7); and then citing In re Alexander Grant & Co. Litig., 820 F.2d 352, 356 (11th
Cir. 1987)). Accordingly, the Court finds a protective order is warranted to facilitate
discovery. The Parties’ Joint Motion (Doc. 28) is GRANTED, and the Parties’ Agreed
Protective Order (Doc. 28-1) is hereby ADOPTED and made the ORDER of the Court.

                SO ORDERED, this 11th day of March, 2025.

                                           /s/ Leslie A. Gardner
                                           LESLIE A. GARDNER, CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT




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